               SIXTH DISTRICT COURT OF APPEAL
                      STATE OF FLORIDA
                    _____________________________

                          Case No. 6D2023-1808
              Lower Tribunal No. 2020-CF-000305-AXXX-XX
                    _____________________________

                         YORMIS PEREZ GONZALEZ,

                                 Appellant,

                                     v.

                             STATE OF FLORIDA,

                                 Appellee.

                    _____________________________

              Appeal from the Circuit Court for Collier County.
                         Elizabeth V. Krier, Judge.

                              August 27, 2024

PER CURIAM.

     AFFIRMED.

STARGEL, NARDELLA and SMITH, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Philip J. Massa, Special
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes, Senior
Assistant Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
